                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION

  UNITED STATES OF AMERICA, and                          No. 19-CV-7 CJW-KEM
  STATE OF IOWA ex rel.
  RICHARD REZKO,
                  Plaintiffs and Relator,                        ORDER
  vs.
  UNIVERSITY OF IOWA HEALTH
  SYSTEM, et al.,
                  Defendants.
                                   ____________________

        This matter is before the Court on plaintiffs and relator’s notice of voluntary
dismissal. (Doc. 34). Also before the Court is the United States’ request to unseal certain
documents. (Doc. 33).
        On January 22, 2019, relator filed a complaint against all defendants arising under
the False Claims Act, on behalf of plaintiffs United States and the State of Iowa. (Doc.
1). On October 29, 2019, relator, again on behalf of the other plaintiffs, filed an amended
complaint against all defendants. (Doc. 12). On March 1, 2023, plaintiff United States
notified the Court of its election to intervene in this action for the purpose of settlement
with all defendants. (Doc. 33, at 1). That same day, plaintiffs and relator filed this
notice of voluntary dismissal (Doc. 34) subject to the terms of a Settlement Agreement
with defendants (Doc. 34-1).
        Under Federal Rule of Civil Procedure 41(a)(1)(A), a plaintiff may dismiss an
action without a court order by filing “a notice of dismissal before the opposing party
serves either an answer or a motion for summary judgment” or “a stipulation of dismissal
signed by all parties who have appeared.” FED. R. CIV. P. 41(a)(1)(A). Defendants




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have not filed an answer or a motion for summary judgment. Therefore, the parties have
complied with Rule 41(a)(1)(A).
       In relevant part, Rule 41(a)(1)(B) provides the dismissal is without prejudice
“[u]nless the notice or stipulation states otherwise.” Here, the notice provides otherwise.
(Doc. 34, at 1). Relator seeks dismissal with prejudice as to all counts. (Id.). The
United States seeks dismissal with prejudice as to the Covered Conduct in the Settlement
Agreement (Doc. 34-1, at 4), but dismissal without prejudice for other claims and rights
reserved in Paragraph 7 of the Settlement Agreement. (Docs. 34, at 1; 34-1, at 1, 7).
The State of Iowa seeks dismissal without prejudice of all claims. (Id.).
       Thus, the Court dismisses the claims in this manner:
(1)    Relator’s claims against defendants are dismissed with prejudice.
(2)    The United States’ claims against defendants are dismissed with prejudice as to
the Covered Conduct, and dismissed without prejudice for other claims and rights
reserved in Paragraph 7 of the Settlement Agreement.
(3)    The State of Iowa’s claims against defendants are dismissed without prejudice.
The United States also requests that the Court unseal relator’s first amended complaint
(Doc. 12), the United States’ notice of intervention (Doc. 33), their proposed order on
the same (Doc. 33-1), and this order granting voluntary dismissal. (Doc. 33, at 1). In
addition, it requests that the seal shall be lifted on any matter occurring in this action
after the date of this Order. (Doc. 33-1, at 1). The Clerk of Court is directed to lift the
seal on the above-listed documents and on any matter occurring in this action after the
date of this Order.
       IT IS SO ORDERED this 7th day of March, 2023.


                                          ________________________
                                          C.J. Williams
                                          United States District Judge
                                          Northern District of Iowa


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